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UNITED STATES oF AMERICA, ) CLEH<,U§“‘~?T?*{‘TOQ[B]'
, WW** seems
Plaintiff, )
)
vs. ) CR. No. 04-20330-03-Ma
)
RICKY BROWN, )
)
Defendant. )

 

ORDER ON CH.ANGE OF PLEA

 

This cause came on to be heard on August 24, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Ricky Brown, appearing in person and with appointed
counsel, Mr. Lee Gerald.

With leave of the Court, the defendant entered a plea of
guilty to Count 5 of the Superseding Indictment. Plea colloquy was
held and the Court accepted the guilty plea.

Sentencing in this matter is set for Monday, December 5, 2005
at 1:30 p.m.
The defendant may remain on his present bond pending

sentencing.

ENTF.REB this the 7""44'\ day of August, 2005.

ky 1144__

SAMUEL H. MAYS, JR.
UNI'I‘ED STATES DIS'I‘RICT JUDGE

This docL.ment entered on the docket sheet in 03 nance
with Rnle 55 and/or 32le FHCrP on _LM_‘

 

/H

 

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Honorable Samuel Mays
US DISTRICT COURT

